Case 2:16-cv-02553-SHL-cgc Document 176 Filed 10/25/19 Page 1 of 4            PageID 2494



                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE,
                            WESTERN SECTION
 ______________________________________________________________________

 RIVERFRONT DEVELOPMENT, INC.,
 As Managing Agent of Mud Island, and
 On Behalf of THE CITY OF MEMPHIS,
 Owner of Mud Island, and
 THE CITY OF MEMPHIS,

        Plaintiffs,

 v.                                                       No.: 2:16-cv-2553

 WEPFER MARINE, INC.,

      Defendant.
 ______________________________________________________________________

  PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION FOR PROTECTIVE ORDER
                                (D.E. 174)
 ______________________________________________________________________

        COME NOW the Plaintiffs, Riverfront Development, Inc. and the City of Memphis

 (“Plaintiffs”), by and through undersigned counsel of record, and respectfully file their

 Response to Defendant, Wepfer Marine, Inc.’s (“Defendant”) Motion for Protective Order

 (D.E. 174) (“Motion”). Specifically, Plaintiffs respond as follows:

        Defendant moves the Court for a Protective Order to prevent Plaintiffs from

 deposing Defendant’s corporate representative(s) in aid of collecting on the judgment in

 this case. Defendant’s Motion is without merit and should be denied.

        First and foremost, as judgment-creditors, Plaintiffs are presently and legally

 entitled to pursue collection of their judgment against Defendant as the judgment-debtor.

 Defendant correctly acknowledged in its own Motion that the automatic stay on the
Case 2:16-cv-02553-SHL-cgc Document 176 Filed 10/25/19 Page 2 of 4                PageID 2495



 judgment expired on October 16, 2019,1 and without an Order of the Court staying the

 judgment, Defendant simultaneously became legally obligated to pay the judgment as

 Plaintiffs became entitled to collect on the same. The fact that Defendant filed a Motion

 for Stay (without obtaining or presenting a supersedeas bond) does not ipso facto extend

 the automatic stay beyond thirty (30) days after entry of the judgment without a Court

 Order pursuant to Fed. R. Civ. P. 62(b). Defendant neither cites nor relies upon any legal

 basis or authority to suggest otherwise, as no such authority exists. No harassment

 inheres in the Plaintiffs’ collecting on their judgment, as this is a proper exercise of their

 vested legal rights.

           Second, Plaintiffs have expressed on multiple occasions that Defendant holds the

 keys to liberating itself from its current predicament, which is one of its own making.

 Defendant failed to procure and present an actual supersedeas bond to the Court,

 thereby prompting Plaintiffs’ objections to Defendant’s Motion for Stay. Plaintiffs will have

 no need to pursue collection on the judgment if Defendant simply obtains and presents

 an actual supersedeas bond to the Court, at which time Plaintiffs shall withdraw any

 objection to a stay on executing the judgment as well as their Notice of Deposition.

 However, without the presentation of an actual supersedeas bond, the Court is being

 asked to stay the judgment on the apparent promise that Defendant will pay if the

 judgment is upheld.           The difference between an actual supersedeas bond and the

 promise to pay (which Defendant is asking the Court to authorize) is vastly different.

           Third, Defendant continually refers to a “Letter of Understanding” as a substitute

 means to circumventing the requirement of Rule 62(b). In ostensible support for the



 1
     D.E. 174, pg. ID #2481.


                                                2
Case 2:16-cv-02553-SHL-cgc Document 176 Filed 10/25/19 Page 3 of 4                            PageID 2496



 merits of a “Letter of Understanding,” Defendant presented an affidavit, not from its

 insurance carriers, but from the president of Defendant’s insurance broker.2 Attached to

 the affidavit was a proposed letter, unsigned by anyone on behalf of the two insurance

 carriers (Starr Indemnity and AGCS), purporting to promise satisfaction of the judgment.3

 Plaintiffs cannot understand why Defendant’s insurers will not secure a supersedeas

 bond if they are both sufficiently solvent and willing to pay on the judgment. As a result,

 Plaintiffs are vehemently opposed to Defendant’s proffered alternative in lieu of a

 supersedeas bond.

         In conclusion, no basis exists to grant Defendant a Protective Order against

 Plaintiffs’ Notice of Deposition in aid of collecting on their judgment. Plaintiffs’ judgment

 is legally valid and they have every right to attempt to collect it – now.

         Once again, should Defendant present an actual supersedeas bond, Plaintiffs shall

 withdraw both their objections to a stay and their Notice of Deposition.




 2
  D.E. 172-1.
 3
  D.E. 172-2. Importantly, in addition to not being executed by anyone from Defendant’s insurers, the letter
 attached does not identify its author, nor does it confirm that Defendant’s insurers waive any and all
 defenses (contractual or otherwise) to paying on Defendant’s judgment. Plaintiffs have no interest in
 becoming entangled in subsequent litigation with Defendant’s insurers about whether they are legally
 obligated to pay the judgment.


                                                     3
Case 2:16-cv-02553-SHL-cgc Document 176 Filed 10/25/19 Page 4 of 4               PageID 2497



                                           Respectfully submitted,

                                           /s/ Robert L. J. Spence, Jr.
                                           ROBERT L. J. SPENCE, JR. (BPR #12256)
                                           ANDREW M. HORVATH (BPR #33862)
                                           The Spence Law Firm, PLLC
                                           80 Monroe Avenue
                                           Garden Suite One
                                           Memphis, Tennessee 38103
                                           901-312-9160

                                           J. MICHAEL FLETCHER (BPR #6954)
                                           125 N. Main Street, Room 336
                                           Memphis, Tennessee 38103
                                           901-636-6614

                                           Attorneys for Plaintiffs



                                CERTIFICATE OF SERVICE

          I hereby certify that a copy of the foregoing document was electronically filed with
 the Clerk of the Clerk via the ECF System, which forwarded electronic notification of the
 filing to the following:

 Frank J. Dantone, Esq.
 Henderson Dantone, P.A.
 241 Main Street
 P.O. Box 778
 Greenville, MS 38702-0778

 this 25th day of October, 2019.

                                            /s/ Robert L. J. Spence, Jr.




                                              4
